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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA

            v.                                           Case No. 19-20450-CR-Scola

   ALEX NAIN SAAB MORAN, et al.,

        Defendants.


       DEFENDANT’S REPLY IN FURTHER SUPPORT OF LIMITED MOTION TO
           RECONSIDER ORDER ON MOTION TO COMPEL DISCOVERY

            Defendant Alex Nain Saab Moran’s (“Mr. Saab”) Motion for Reconsideration, ECF No.
  146 (the “Motion”), raises a narrow and discrete Brady/Giglio concern with respect to documents
  from a single agency, the U.S. Department of State (“State”). The Motion was made only after Mr.
  Saab made specific, cabined requests for State materials and even negotiated with the government
  regarding the specific search terms to be utilized. Indeed, the government has already made a
  limited production of State materials, demonstrating its ability to obtain material from State. Of
  equal importance, the government’s own filings have introduced State as a witness, opening the
  door to what State knew, and when, thus justifying turnover of impeachment evidence.
            Yet now, inexplicably, the government refuses to provide a concrete set of State materials
  that are clearly relevant to Mr. Saab’s affirmative defense of diplomatic immunity, claiming that
  Mr. Saab is engaging in a “fishing expedition.” See ECF Nos. 135, 151. But as the government
  surely knows, a “fishing expedition” is “[a]n attempt, through broad discovery requests or random
  questions, to elicit information from another party in the hope that something relevant might be
  found; esp. such an attempt that exceeds the scope of discovery allowed by procedural rules.”
  Fishing Expedition, BLACK’S LAW DICTIONARY (9th ed. 2009) (emphasis added). Here, by
  contrast, Mr. Saab seeks specific, targeted materials which the government’s own prior disclosure
  show actually exist (or once did) and directly relate to State’s awareness of Mr. Saab’s diplomatic
  status.
            Under the Due Process Clause of the Fifth Amendment, the government cannot now close
  its eyes and cover its ears, pretending that it does not know about this highly relevant, exculpatory
  material relating to diplomatic immunity. Indeed, the government has interjected State (and its
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  knowledge of Mr. Saab’s diplomatic status) as a witness in this case by submitting a declaration
  by State, claiming that it has no awareness of any basis for such immunity. ECF No. 24 at 17. The
  materials produced by the government to date show otherwise. Accordingly, as elaborated below,
  the government’s prior commitments, Giglio, and the new evidence presented in the Motion
  require more from the government. Reconsideration should be granted.
                                            ARGUMENT
  A.     The Government’s Prior Commitment Requires More
         The government’s Opposition Brief, ECF No. 151 (“Opp’n” or “Opposition”) suggests that
  it is a mere passive conduit that “requested and received certain materials” from State relating to
  Mr. Saab’s diplomatic status. Opp’n at 3. Following its receipt of these “certain materials” from
  State, the government reviewed them and gave “State an opportunity to review . . . for any claims
  of privilege.” Id. Following a privilege review, the government then produced to Mr. Saab about
  three dozen documents, most of which were heavily or fully redacted. The government reaffirms
  this description multiple other times, confirming that it simply worked with whatever was
  provided. See, e.g., Opp’n at 4 (“[The government] has provided all responsive documents it has
  received from OIA and [State].”); id. at 9 (“The government has also produced material it received
  from OIA and [State].”); id. at 10 (“[T]he government again reiterates it has provided all
  responsive document [sic] it received from [State] and it is not in possession of any additional
  documents.”); id. at 11.
         Notably, the scope of the government’s request for materials from State is unclear. Id. at
  9. It is likewise unclear how State selected the “certain materials” that it provided to the
  government. Id. at 3. It is thus unknown whether the government made any attempts to ensure the
  adequacy or sufficiency of State’s disclosure. This, notwithstanding that Brady and Rule 16 impose
  obligations on the prosecutors, whose job it is to ensure a fair trial. Further, it is also unknown
  how and why State held back other materials that clearly exist, thus keeping them out of the literal
  “possession” of the government.
         The opacity of the process for seeking these highly relevant, exculpatory State materials is
  fundamentally unfair. Yet, the government states that it is “well aware” of its obligations under
  Brady and Giglio and “has and will continue to satisfy its discovery obligations.” Opp’n at 2, 4.
  This boilerplate incantation, however, does not substitute for actual compliance with constitutional




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  commands. The Court’s oversight is essential to mitigate the substantial risks inherent in allowing
  the government to be its own referee.
         Indeed, the government explicitly claims credit for going “above and beyond,” Opp’n at
  11, and asserts that it is trying “to be helpful” and “alleviate any concerns.” See ECF No. 123 at
  4.1 But it has no answer for the actual issue raised by Mr. Saab: Why has the government not
  produced State documents that are self-evidently missing? Mr. Saab’s Motion detailed, for
  example, that State has not produced the same items identified by OIA (i.e., communications
  between OIA and State). It also noted that there are obviously other necessary communications
  regarding the same topics that must be missing. Moreover, the Motion addressed specific
  diplomatic materials related to the notes verbal discussing Mr. Saab’s diplomatic status that were
  sent to State. The government has no answer for why certain Brady and Rule 16 materials are in
  DOJ’s files but not those of State.
         The government’s response to all of this is buried in a footnote towards the end of its brief,
  which reiterates that it “has provided all responsive documents it received from the State
  Department and is not in possession of any additional documents.” See Opp’n at 10 n.4. Of course,
  arguments in footnotes are disfavored and “not ordinarily consider[ed].” See Pinson v. JPMorgan
  Chase Bank, Nat’l Ass’n, 942 F.3d 1200, 1209 n.5 (11th Cir. 2019); see also Plain Bay Sales, LLC
  v. Gallaher, No. 18-80581-CIV, 2019 WL 1782761, at *6 (S.D. Fla. Apr. 24, 2019) (collecting
  cases). In any event, the government’s “response” to Mr. Saab’s argument is burying its head in
  the sand, pretending that it does not have full awareness of the inadequacy of State’s disclosure,
  and proclaiming that it cannot control State’s inadequacies.
         The government’s role in State’s disclosure, however, is more controlling than it admits.
  The government asked State to search for materials responsive to Mr. Saab’s narrowly tailored
  requests relating to his diplomatic status, presumably providing State with the search terms
  negotiated with defense counsel. State purported to comply, yet failed to produce materials that
  were clearly responsive to Mr. Saab’s—and the government’s own—request. It is inconceivable
  that an adequate search at State would not hit on the same documents provided by OIA, nor a



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   Yet it fails to even address, let alone attempt to defend, that it simply blew through the Court’s
  prior order that it “make its best efforts” to obtain and produce “unclassified Brady or Giglio
  material in the possession, custody, or control of [OIA] and/or [State] no later than August 15,
  2022.” ECF No. 116.


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  single email from the State Department Special Representative for Iran, the State Department
  Deputy Special Representative for Iran, or the State Department Press Officer, each of whom are
  part of emails disclosed by OIA discussing Mr. Saab’s diplomatic status. These facts alone strongly
  suggest that State did not adequately comply with the government’s request (including searching
  the relevant custodians). This is not mere supposition or hope that such documents exist.
         The government’s argument is that when another government agency/department agrees
  to comply with the government’s request for exculpatory or impeachment material requested by a
  criminal defendant, the “prosecution team” (however defined) can entertain the legal fiction that
  such material does not exist when the other government/agency obviously fails to comply fully
  with the government’s own request. As stated in Kyles v. Whitley, 514 U.S. 419, 437 (1995), a
  “prosecutor has a duty to learn of any favorable evidence known to others acting on the
  government’s behalf in the case. . . .” The relevant material within State is not possessed by some
  random third party over which the government has no knowledge or control, as evidenced by
  State’s initial turnover. The government “has the means to discharge the government’s Brady
  responsibility if [it] will” and cannot “substitute the [State Department] for the prosecutor, and
  even the courts themselves, as the final arbiters of the government’s obligation to ensure fair trials”
  under the Due Process Clause. Id. at 438.
         Indeed, “[i]t is not difficult to envision circumstances where the prosecution possesses,
  either actually or constructively, Brady information that for some reason is not in the ‘file,’ such
  as material in a police officer’s file (but not in the prosecutor’s file) or material learned orally and
  not memorialized in writing.” Smith v. Sec’y of New Mexico Dep’t of Corr., 50 F.3d 801, 828 (10th
  Cir. 1995). The Smith Court was addressing the concept of an “‘open file’ policy” and further
  observed that “[n]o one could reasonably argue that . . . the prosecution’s Brady obligations would
  be satisfied by its ‘open file’ policy” because “it fails to recognize that Brady material may be
  found in places other than a prosecutor’s file. The prosecution’s affirmative obligation under Brady
  may often go beyond divulging what is in ‘the file.’” Id.
         The facts strongly suggest a selective disclosure by State, of which the government is well
  aware. Yet the government attempts to disavow any responsibility for the actions of State. But
  because the government has agreed to “voluntarily search the files of some other agencies” for
  exculpatory/impeachment material, it is “held to the same standard that applies to information
  found in its own files.” See Mot. at 10 (quoting United States v. Alshahhi, 21-cr-371, 2022 WL



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  2239624 (E.D.N.Y. June 22, 2022)). The government attempts to distinguish Alshahhi, mostly by
  asserting that the District Court cited no cases. See Opp’n at 5. But that is unavailing, because Mr.
  Saab and the government agree on the key point: Alshahhi “held the government’s discovery
  obligations are limited to the prosecution team but that to the extent the government volunteers to
  search the files of some other agency, it would be held to the same standard “that applies to
  information found in its own files.” Opp’n at 10. That is all that the Motion asks with respect to
  State.2
            Absent a Court order, it is evident that the State search will not be conducted properly and
  Brady and Rule 16 materials directly bearing on the defendant’s diplomatic immunity defense will
  be withheld. Accordingly, the Motion should be granted.
  B.        Giglio and the Due Process Clause Require More
            The government acknowledges, as it must, that the “obligation to disclose favorable
  evidence covers . . . information that can be used to impeach government witnesses.” Opp’n at 4
  (citing Giglio v. United States, 405 U.S. 150, 154 (1972)). Yet the Opposition glosses over Mr.
  Saab’s key Giglio argument that the government essentially has used a State official as a witness
  in this case, thereby obliging it to turnover related impeachment material. See Mot. at 7-10. The
  government previously acknowledged this issue, admitting that “because of . . . that declaration
  we submitted, we thought it was prudent that we go beyond the prosecution team for that
  instance. . . .” Transcript, ECF No. 122 at 14:16-19. And although this argument was raised in the
  motion to compel, see ECF No. 123 at 15-16, the Court did not address it in its Order, thus
  warranting reconsideration.
            Tellingly, the government’s Opposition never once confronts the declaration it submitted
  from State, which has rendered State a key witness. As described previously, that declaration states
  in relevant part that Mr. Saab was not notified to the Department of State (an utterly irrelevant
  fact) and “[a]s such, the Office of Foreign Missions is not aware of a basis for [Mr. Saab] to enjoy
  immunity from the criminal or civil jurisdiction of the United States.” See ECF No. 24-3 (emphasis


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    Likewise, the government’s reliance on United States v. Loera, No. 09 Cr. 466, 2017 WL
  2821546, *7 (E.D.N.Y. June 29, 2017) is unavailing. First, the Alshahhi Court contemplated Loera
  and still held as it did with respect to “voluntary searches.” See 2022 WL 2239624 at *26. Second,
  Loera had nothing to do with voluntary searches undertaken by the government—obviously not
  the case here where the government has previously determined it “prudent that we go beyond the
  prosecution team” to State. Transcript, ECF No. 122 at 14:14-19.


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  added). The government has affirmatively relied upon, and continues to rely upon, this declaration,
  rendering State a key witness for the government. Indeed, the government has invited the Court to
  give this declaration significant weight. See, e.g., ECF No. 24 at 17-18.
         Also tellingly, this declaration from State has been a moving target. The government
  argued before the Eleventh Circuit that “although the evidence in the record supplied by the
  Government that bears on Saab’s claim of diplomatic immunity is limited, it is determinative.”
  See Gov’t Br., No. 21-11083 at 37 (Oct. 14, 2021) (emphasis added). It asserted that the State
  declaration, which was prepared and provided by State, “forecloses Saab’s diplomatic immunity
  claim.” Id. at 38. The Eleventh Circuit, of course, declined the government’s invitation to make
  such a broad and baseless holding and remanded for development of the record on Mr. Saab’s
  diplomatic status. Following remand, the government backed away from such sweeping claims
  that this single document is a magic eraser, capable of “foreclos[ing]” a diplomatic immunity
  claim. Indeed, as noted, the declaration is barely mentioned by the government in the discovery
  briefing. This begs the question of why the government is now backing away from its reliance on
  the State declaration.
         The simplest answer is that the government knows there is impeachment material held by
  State—that it was, in fact, aware of a basis for Mr. Saab’s immunity—and it is trying to avoid
  disclosing that material by walking back its prior foundational reliance on the State declaration.
  The limited materials disclosed by the government thus far have revealed significant cracks in the
  foundation, and it now desperately seeks to avoid discovery and disclosure of items that could
  cause wholesale collapse. This is inconsistent with the government’s obligations and Giglio. It is
  “not compatible with the rudimentary demands of justice” to allow flawed or false evidence “to
  go uncorrected. . . ” once the flaw or falsity is revealed. United States v. Antone, 603 F.2d 566,
  569 (5th Cir. 1979) (internal citations and quotation marks omitted). See also Mod. R. Prof.
  Conduct 3.3 (Candor Toward the Tribunal); 4.1 (rule requiring truthfulness includes preventing
  misrepresentations that occur “by partially true but misleading statements or omissions that are the
  equivalent of affirmative false statements”). Simple fairness (and thus due process) demands
  turnover of all State materials that could impeach the representations made in the State declaration,
  which have been relied upon by the government here. Giglio, 405 U.S. at 154.




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  C.     New Evidence Requires More Than What Has Been Provided
         The Court made its prior determination with regard to State without the benefit of important
  new documents, additionally warranting reconsideration. Much of the Opposition is focused on
  haggling over the specific import of documents included with the Motion, in an apparent attempt
  to distract the Court from one simple and uncontested fact: the Court did not have the benefit of
  these documents previously, in no small part because they were not produced by August 15, 2022.
  Cf. ECF No.116 (“The Government must make its best efforts to obtain and produce to the
  Defendant any unclassified Brady or Giglio material in the possession, custody, or control of . . .
  the Department of State no later than August 15, 2022.”). In any event, it is clear that State
  continues to play a significant role in the continuation of this prosecution including as a witness
  (supra, § B).
         The government’s argument that none of the new documents “include any correspondence
  between the prosecution team . . . or show the Department of States involved in any way with the
  investigation or prosecution of SAAB MORAN for the crimes charged in the indictment” misses
  the mark. See Opp’n at 7. First, the question posed in the Motion is framed in the context of the
  diplomatic immunity defense which the Court observed is “exactly what he seeks out to prove by
  way of his discovery requests.” Order, ECF No. 138 at 4. If State materials support that defense,
  they are exculpatory. Second, the timing of the various documents vis-à-vis the timing of the
  indictment is a false equivalency, as Mr. Saab’s status as Special Envoy, and thus his entitlement
  to immunity, is ongoing at all times from April 9, 2018, forward. See Opp’n at 8-9.
         Finally, the government’s attempts to minimize the crucial impact of the new evidence by
  verbal and logical contortions (e.g., referring to it as simply commenting on blog posts or routine
  contacts with the press) is comical. Id. The new evidence unequivocally shows that State was part
  of the decision-making process for prosecutors by opining on whether to proceed with this
  prosecution in the face of an anticipated claim of diplomatic immunity. Even more revealing, the
  new evidence suggests that the former Secretary of State was not only aware that diplomatic
  immunity would be claimed (and thus posed a threat to successful prosecution), but he also
  explicitly proposed an argument to counter the anticipated claim of diplomatic immunity—an
  argument that is identical to the legal argument now employed by the government (i.e., the Maduro
  non-recognition argument). See Mot. at 8. The Opposition is deafeningly silent on the former
  Secretary’s role in what is now transpiring before this Court, and the concomitant need for the



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  defense to access Giglio impeachment evidence in the possession of the government’s witness,
  State.
            The Antone Court emphasized a “case-by-case analysis” and “Courts have considered
  various factors” in analyzing joint prosecutorial effort. United States v. Slawson, No. 14-cr-186,
  2014 WL 5804191, at *16 (M.D. Ga. Nov. 7, 2014). The new evidence revealed since this Court’s
  original order, ECF No. 138, evinces apparent involvement by the former Secretary of State and
  several other high-ranking State officials in Mr. Saab’s prosecution. This new evidence should
  thus be a factor deserving significant weight in the present Motion for reconsideration. See Mot.
  at 7-9.
  Date: November 2, 2022                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on November 2, 2022, I electronically filed the foregoing with
  the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
  to all counsel of record.
                                                                    /s/ Lindy K. Keown
                                                                    Lindy K. Keown




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